                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION
________________________________________
                                        )
KELLY FLOCKHART,                         )
                                        )
      Plaintiff,                        )
                                        )
      v.                                )  No. 17-cv-4019-MWB
                                        )
SYNCHRONY BANK,                         )
                                        )
      Defendant.                        )
________________________________________)

                                          COMPLAINT

      Plaintiff, KELLY FLOCKHART (“Plaintiff”), through attorneys, alleges the following

against Defendant, SYNCHRONY BANK (“Defendant”):

                                       INTRODUCTION

1.    Plaintiff’s Complaint is based on the Telephone Consumer Protection Act (“TCPA”), 47

      U.S.C. § 227 et seq.

                                JURISDICTION AND VENUE

2.    Jurisdiction of this court arises pursuant to 28 U.S.C. § 1331 and 47 U.S.C. § 227.

3.    Because Defendant conducts business in the state of Iowa, personal jurisdiction is

      established.

4.    Venue is proper pursuant to 28 U.S.C. 1391(b)(2) as the acts and transactions giving rise

      to this action occurred in this district as Plaintiff resides in this district and Defendant

      transactions business in this district.

                                            PARTIES

5.    Plaintiff is a natural person at all time relevant residing in Spencer, Clay County, Iowa.




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6.    Plaintiff is informed, believes, and thereon alleges, that Defendant is a national company

      with a business office in Kettering, Ohio.

7.    Defendant acted through its agents, employees, officers, members, directors, heirs,

      successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                    FACTUAL ALLEGATIONS

8.    Defendant places telephone calls to telephone number (712) 240-2814.

9.    Telephone number (712) 240-2814 is assigned to Plaintiff’s cellular telephone.

10.   These calls are not for emergency purposes.

11.   These calls are made in connection with an attempt to collect an alleged debt.

12.   Upon information and good faith belief, based on the frequency, number, nature and

      character of these calls, Defendant used an automatic telephone dialing system, or other

      equipment capable of storing and/or producing telephone numbers, to place these calls.

13.   On or around November 23, 2016, Plaintiff instructed Defendant to stop calling her cell

      phone.

14.   Defendant continued to use an automatic telephone dialing system to call Plaintiff’s cell

      phone after November 23, 2016.

15.   Since November 23, 2016, Defendant called Plaintiff’s cell phone at least one hundred

      sixteen (116) times.

16.   Defendant called Plaintiff’s cell phone multiple times in a single day.

17.   Defendant placed these calls voluntarily.

18.   Defendant placed these calls under its own free will.

19.   Defendant had knowledge that it was using an automatic telephone dialing system to place

      these calls.

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20.   Defendant willfully used an automatic telephone dialing system to place these calls.

21.   Plaintiff revoked any consent, actual or implied, for Defendant to use an automatic

      telephone dialing system to call her cell phone.

22.   Plaintiff is annoyed and feels harassed by Defendant’s calls.

                                COUNT I
       DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

23.   Defendant’s actions alleged supra constitute numerous negligent violations of the TCPA,

      entitling Plaintiff to an award of $500.00 in statutory damages for each and every violation

      pursuant to 47 U.S.C. § 227(b)(3)(B).

24.   Defendant’s actions alleged supra constitute numerous and multiple knowing and/or

      willful violates of the TCPA, entitling Plaintiffs to an award of $1500.00 in statutory

      damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.

      § 227(b)(3)(C).

      WHEREFORE, Plaintiff requests that judgment be entered against Defendant for the

      following:

25.   Statutory damages of $500.00 for each and every negligent violation of the TCPA pursuant

      to 47 U.S.C. § (b)(3)(B).

26.   Statutory damages of $1500.00 for each and every knowing and/or willful violation of the

      TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C).

27.   All court costs, witness fees and other fees incurred.

28.   Any other relief that this Honorable Court deems appropriate.




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Dated: March 28, 2017        RESPECTFULLY SUBMITTED,



                             By: /s/ J D Haas_______________
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